                    Case 1:24-cv-00026-JPO-JW Document 4 Filed 01/04/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                 Southern District
                                                __________ DistrictofofNew York
                                                                        __________

                                                                )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.
                                                                )
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:     01/04/2024                                                                   /S/ V. BRAHIMI
                                                                                     Signature of Clerk or Deputy Clerk
        Case 1:24-cv-00026-JPO-JW Document 4 Filed 01/04/24 Page 2 of 2




                        RIDER TO SUMMONS IN A CIVIL ACTION
The following are the names and addresses of the defendants for the Summons in a Civil Action


                   125 PARK OWNER LLC
                   C/O CORPORATION SERVICE COMPANY
                   80 STATE STREET
                   ALBANY, NY, UNITED STATES, 12207


                   LTN1 PARK LLC
                   WATCHALE LLC
                   63 BANK STREET, APT 1B
                   NEW YORK, NY, UNITED STATES, 10014
